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                      Defendant’s Motion to Seal


                          Exhibit 1
                 Non-Confidential Descriptive Index
             (Local Criminal Rule 49.01(B)(2)(a) (D.S.C.))
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

 United States of America,                            Case No. 9:22-cr-00658-RMG

            v.

 Russell Lucius Laffitte,

                       Defendant.


       In accordance with Fed. R. Crim. P. 49.1(d), Local Crim. R. 49.01(B)(2)(a) (D.S.C.), and

the Standing Order Regarding Sealing Documents in Criminal Matters, ECF No. 1, No. 3:14-mc-

00333-TLW (Oct. 28, 2014), the following non-confidential descriptive index is filed

contemporaneously with the Motion to Seal filed by Mr. Laffitte:

 Exhibit Document                Description

 A         Affidavit of Juror    An affidavit signed by Juror No. 95, the foreperson describing
           No. 55                the Court’s communications during deliberation and removal,
                                 and his lack of involvement with the group note.

                                   NELSON MULLINS RILEY & SCARBOROUGH LLP

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